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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


LIA DEVITRI, EVA GRASJE, SYANE KALOH, JOHN
LONDA, MELDY LUMANGKUN, MARTIN
LUMINGKEWAS, MEIVE LUMINGKEWAS, TERRY
ROMBOT, AGUS SETIAWAN, FREDDY SOMBAH,
POPPY SOMBAH, HERU KURNIAWAN, DEETJE PATTY,
ROY ANTOUW, DEBBY WALANDOW, ARNOLD
BUDIHARDJO, VIRAKE BUDIHARDJO, MICHAEL                         Civil Action
EMAN, HESTI RIMPER, GREACE MAMBO, SONNY                        No. 17-11842-PBS
MAMBO, EDDY PANJAITAN, LINARIA SINAGA,
CHRISTIAN PENTURY, ELVIS SEPANG, ESTER ARINA,
YAYHA BANTURINO, JODY SOEBAGYO, PINTA
CHRISMILIAN, NICO FNU, WILLY MANDAGI, ADELE
TUMBEL, JAMES TOMBENG, JANE PAJOW, GOLTODO
PARAPAT, MARGARIET SITOMPUL, SERO RARUNG,
STEPHEN RARUNG, HEFRI SENDUK, LAURA
RONDONUWU, WENDA CHAPMAN (a/k/a WENDA
TAN), SAMUEL WONDAL, JACKLYN LELE, MARKUS
SUBROTO, TAMARA TASYA, FELICIA LUKMAN,
KAJONO GUNARDI, LENY SUTANTO, BOBBY
CANDRA, FRANKY MASSIE, SANDRA SAHERTIAN, and
all other individuals similarly situated,

                             Petitioners/Plaintiffs,
v.

CHRIS M. CRONEN
Boston Field Office Director for Enforcement and Removal
Operations, U.S. Immigration and Customs Enforcement

TIMOTHY STEVENS
Manchester Sub-Office Director for Enforcement and Removal
Operations, U.S. Immigration and Customs Enforcement

ELAINE C. DUKE
Acting Secretary of the U.S. Department of Homeland Security

                             Respondents/Defendants.


     SECOND AMENDED CLASS PETITION FOR WRITS OF HABEAS CORPUS AND
         MANDAMUS AND CLASS COMPLAINT FOR DECLARATORY AND
                          INJUNCTIVE RELIEF


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                                           INTRODUCTION
           1.      Petitioners/Plaintiffs are Indonesian nationals who, having resided in the United

States peaceably for decades, now face imminent removal to Indonesia where they face the very

real prospect of persecution, torture, or death due to their Christian faith. Removals for these

individuals, who voluntarily identified themselves to United States Immigration and Customs

Enforcement (“ICE”) as part of its “Operation Indonesian Surrender” program, are scheduled to

occur within the next four weeks (and, for Petitioners Freddy Sombah and Poppy Sombah, this

Wednesday, September 27, 2017). Petitioners/Plaintiffs pray that this Court stay these removals

because ICE has denied them the due process protections guaranteed by the Fifth Amendment of

the United States Constitution by attempting to remove them on a timeframe that prevents them

from exercising their right to seek the immigration relief to which they are entitled through

motions to reopen their immigration cases. Accordingly, Petitioners/Plaintiffs seek to represent

themselves and a class of similarly situated individuals for the purpose of ensuring that everyone

in the class is afforded their Fifth Amendment due process protections.


           2.      Petitioners/Plaintiffs and the members of the putative class they seek to represent

had been permitted to remain in the United States despite immigration infractions, such as visa

overstays, through “Operation Indonesian Surrender,” a program established in roughly 2009-

2010, that specifically encouraged Indonesian Christian community members who were subject

to final orders of removal to “come out of the shadows,” report to ICE, and voluntarily submit to

Orders of Supervision. Petitioners/Plaintiffs accepted that invitation. They are part of roughly 70

individuals remaining in the program, who were living peaceably in their communities pursuant

to those Orders of Supervision. That all changed this June, when the Boston ICE Field Office,

suddenly began issuing Denials of Stay of Removal and/or Notices of Revocation of Release.


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           3.      Upon information and belief, Petitioners/Plaintiffs now face imminent removal to

Indonesia, a country which they left years ago, and where even the U.S. State Department

restricts its own personnel from traveling freely. U.S. Department of State, International Travel

Country Reports (April 17, 2017), available at            https://travel.state.gov/content/passports/en/

country/indonesia.html.


           4.      U.S. law prohibits the removal of individuals to countries where they would face

a likelihood of persecution or torture. Yet despite the clear danger that many of these individuals

face in Indonesia due to their Christian faith, ICE is attempting to deport them based on

outstanding removal orders that did not take account of intervening changed circumstances

which should entitle them to protection. For example, Christians are widely recognized as targets

of brutal persecution in Indonesia. The U.S. Commission on International Religious Freedom

included Indonesia in its 2017 list of countries of particular concern as a “Tier 2” country, a

group of countries which, while less repressive than North Korea, includes Iraq, a nation to

which deportations of Christians has been halted by another federal court. Hamama v Adducci,

No. 17-cv-011910, 2017 WL 2684477 (E.D. Mich. June 22, 2017); U.S. Commission on

International      Religious   Freedom,    “Indonesia,”     2017    Annual    Report,    available   at

http://www.uscirf.gov/sites/default/files/Indonesia.2017.pdf.


           5.      The Pew Research Center rated Indonesia high in both government restrictions

and social hostilities in its 2017 Report on global religious restrictions. “Global Restrictions on

Religion Rise Modestly in 2015, Reversing Downward Trend,” Pew Research Center (Apr. 11,

2017), available at http://www.pewforum.org/2017/04/11/global-restrictions-on-religion-rise-

modestly-in-2015-reversing-downward-trend/.



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           6.      Despite these dangers Petitioners/Plaintiffs and other similarly situated

individuals, whose orders of removal were entered years ago, are facing immediate deportation

to Indonesia without any chance to explain the present status of the dangers they would currently

face.


           7.      Petitioners/Plaintiffs cannot be removed to Indonesia without being afforded a

process to determine whether, based on current conditions and circumstances, the danger they

would face entitles them to protection from removal. Specifically, Petitioners/Plaintiffs ask this

Court to issue an order preventing their removal to Indonesia until they are provided with their

due process right to a determination of their entitlement to protection in light of changed country

conditions or other entitlement to relief.


           8.      Finally, Petitioners/Plaintiffs, on behalf of themselves and the similarly situated

members of the putative class, challenge any actual or anticipated detention, which bears no

reasonable relationship to any legitimate purpose. Because they cannot be lawfully removed until

they have had an opportunity to renew their requests for protection, their detention is not

necessary to effectuate their imminent removal. Petitioners/Plaintiffs ask this Court to order

their immediate release, absent an individualized determination that they pose a danger or flight

risk that requires their detention.


           9.      Because Petitioners/Plaintiffs are a subset of a larger community impacted by

ICE’s sudden and arbitrary change in policy, they seek to obtain relief for themselves and for a

class of similarly situated individuals—Christian Indonesians that voluntarily participated in

“Operation Indonesian Surrender” who now find themselves subject to Notices of Revocation of

Relief or Denials of Stays issued by the Boston Field Office of Enforcement and Removal



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Operations, of U.S. Immigration and Customs and Enforcement, that will be executed within

weeks.


                                           JURISDICTION


           10.     This case arises under the Fifth Amendment to the United States Constitution; the

Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et seq.; the regulations implementing

the INA’s asylum provisions; the Convention Against Torture and Other Cruel, Inhuman or

Degrading Treatment or Punishment (“CAT”), Dec. 10, 1984, S. Treaty Doc. No. 100-20 (1988),

1465 U.N.T.S. 85, the Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”), 8

U.S.C. § 1231 note, and the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq.


           11.     This Court has habeas corpus jurisdiction pursuant to 28 U.S.C. § 2241 et seq.,

and Art. I § 9, cl. 2 of the United States Constitution (Suspension Clause). This Court may also

exercise jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1361

(mandamus statute), 5 U.S.C. § 701 et seq. (Administrative Procedures Act); Art. III of the

United States Constitution; Amendment V to the United States Constitution; and the common

law. This Court may grant the relief requested herein pursuant to the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq., and the All Writs Act, 28 U.S.C. § 1651.

           12.     This Court has recently held that an alien’s status as subject to an Order of

Supervision is in “custody” for purposes of habeas corpus jurisdiction. Ali v. Napolitano, Civ.

No. 12-cv-11384-FDS, 2013 U.S. Dist. LEXIS 104964, *10-13 (July 26, 2013) (Saylor, J.); see

also generally Mendonca v. INS, 52 F. Supp. 2d 155, 159 (D. Mass.), aff’d, 201 F.3d 427 (1st Cir

1999) (holding that “custody” includes persons subject to a final order even if they are not in

physical custody) (Saris, J.).


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           13.     This action is not barred by 8 U.S.C. § 1252(b)(9) (the REAL ID Act of 2005)

because this Court may review a question that is independent of the removal process or which

cannot be addressed through the available administrative process. See generally Aguilar v.

United States Immigration and Customs Enforcement Division of the Department of Homeland

Security, 510 F.3d 1, 11 (1st Cir. 2007); Flores-Powell v. Chadbourne, 677 F. Supp. 2d 455, 468

(D. Mass. 2010) (finding that the court may review whether detention violates the Due Process

clause of the Fifth Amendment). The present action does not challenge the underlying orders of

removal. Rather, it seeks to challenge a condition of Petitioners’/Plaintiffs’ custody, specifically,

ICE’s abrupt change in policy regarding participants in “Operation Indonesian Surrender” and

the unfairly compressed timetable of the issuance of the Denials of Stays and/or Notices of

Revocation of Release, which are documents attendant to their Orders of Supervision that are

preventing Petitioners/Plaintiffs from exercising their due process rights to challenge their final

orders of removal in the proper forum: the Immigration Court.


                                               VENUE


           14.     Venue lies in the District of Massachusetts, the judicial district in which the

Boston ICE Field Office Director is located. Vasquez v. Reno, 233 F.3d 688, 696 (1st Cir. 2000).

The Boston ICE Field Office Director issued the Denials of Stay of Removal, and the Orders of

Supervision were issued under that Field Office’s supervision.


                                              PARTIES


           15.     Petitioner/Plaintiff LIA DEVITRI is a national of Indonesia of Christian faith

who is subject to a final order of removal. She has been living without incident since July 2010

under an Order of Supervision which she understood to have been issued under the auspices of

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Operation Indonesian Surrender. She was ordered to report to ICE on October 10, 2017 with a

plane ticket to depart to Indonesia on November 10, 2017. She is the wife of Petitioner/Plaintiff

AGUS SETIAWAN; they have four U.S. citizen children, one of whom suffers from cerebral

palsy.


           16.     Petitioner/Plaintiff EVA GRASJE is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and has been subject to a

final order of removal since 2007. She was living under an Order of Supervision without incident

since September 2010. Without any explanation, she received a Denial of Stay on February 28,

2017 signed by Respondent/Defendant CRONEN from the Boston ICE Field Office, and has

been ordered to report to the Manchester Sub-Office on October 6, 2017 with a plane ticket to

depart to Indonesia on November 6, 2017. She is the wife of Petitioner/Plaintiff MELDY

LUMANGKUN; they have one non-U.S. citizen child and two U.S. citizen children, one of

whom is hearing impaired. She is a deacon in the Rochester Indonesian Seventh Day Adventist

Church.


           17.     Petitioner/Plaintiff SYANE KALOH is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and has been subject to a

final order of removal since 2005. She was living under an Order of Supervision without

incident since September 2010. Without any explanation, she received a Denial of Stay on

September 5, 2017 signed by Respondent/Defendant CRONEN from the Boston ICE Field

Office, and has been ordered to report to the Manchester Sub-Office on October 13, 2017 and to

depart to Indonesia on November 9, 2017. She is the wife of Petitioner/Plaintiff JOHN LONDA;

they have one non-U.S. citizen child who was granted relief under Deferred Action for

Childhood Arrival (“DACA”), and one U.S. citizen child, age 14.

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           18.     Petitioner/Plaintiff JOHN LONDA is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and has been subject to a

final order of removal since 2007.        He was living under an Order of Supervision without

incident since September 2010. Without any explanation, he received a Denial of Stay on

September 5, 2017, signed by Respondent/Defendant CRONEN from the Boston ICE Field

Office, and has been ordered to report to the Manchester Sub-Office on October 13, 2017 with a

plane ticket to depart to Indonesia on November 9, 2017. He is the husband of Petitioner/Plaintiff

SYANE KALOH; they have one non-U.S. citizen child who was granted relief under DACA,

and one U.S. citizen child, age 14.


           19.     Petitioner/Plaintiff MELDY LUMANGKUN is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and has been

subject to a final order of removal since 2007. He was living under an Order of Supervision

without incident since September 2010. Without any explanation, he received a Denial of Stay

on February 28, 2017 signed by Respondent/Defendant CRONEN from the Boston ICE Field

Office, and has been ordered to report to the Manchester Sub-Office on October 6, 2017 with a

plane ticket to depart to Indonesia on November 6, 2017.                He is the husband of

Petitioner/Plaintiff EVA GRASJE; they have one non-U.S. citizen child and two U.S. citizen

children, one of whom is hearing impaired. He is an elder in the Rochester Indonesian Seventh

Day Adventist Church.


           20.     Petitioner/Plaintiff MARTIN LUMINGKEWAS is a national of Indonesia of

Christian faith who is subject to a final order of removal. He has been living for several years

without incident under an Order of Supervision, which he understood to have been granted under

the auspices of Operation Indonesian Surrender. Without any explanation, during the week of

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September 18, 2017, he received a Denial of Stay signed by Respondent/Defendant CRONEN

from the Boston ICE Field Office, and has been ordered to report to the Manchester Sub-Office

on October 13, 2017 with a plane ticket to depart to Indonesia on November 9, 2017. He is the

husband of Petitioner/Plaintiff MEIVE LUMINGKEWAS; they have three U.S. citizen children,

one of whom, age 15, is autistic and requires constant supervision and special educational

programs.


           21.     Petitioner/Plaintiff MEIVE LUMINGKEWAS is a national of Indonesia of

Christian faith who is subject to a final order of removal. She has been living for several years

without incident under an Order of Supervision, which she understood to have been granted

under the auspices of Operation Indonesian Surrender. She imminently expects to receive a

Denial of Stay signed by Respondent/Defendant CRONEN from the Boston ICE Field Office;

she has been ordered to report to the Manchester Sub-Office on October 13, 2017 with a plane

ticket to depart to Indonesia on November 9, 2017.               She is the wife of Petitioner

Petitioner/Plaintiff MARTIN LUMINGKEWAS; they have three U.S. citizen children, one of

whom, age 15, is autistic and requires constant supervision and special educational programs.


           22.     Petitioner/Plaintiff TERRY ROMBOT is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. He was living under an Order of Supervision, but was issued a Notice of Revocation

of Release on August 1, 2017 signed by Respondent/Defendant CRONEN from the Boston ICE

Field Office. He is presently in immigration custody in Plymouth County jail, and is the subject

of related case in this District, Rombot v. Cronen, et al., No. 17-cv-11577-PBS.


           23.     Petitioner/Plaintiff AGUS SETIAWAN is a national of Indonesia of Christian

faith who is subject to a final order of removal. He was living without incident since July 2010
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under an Order of Supervision which he understood to have been granted under the auspices of

Operation Indonesian Surrender. He has been ordered to report to ICE on October 10, 2017 with

a plane ticket to depart to Indonesia on November 10, 2017.               He is the husband of

Petitioner/Plaintiff LIA DEVITRI; they have four U.S. citizen children, one of whom suffers

from cerebral palsy.


           24.     Petitioner/Plaintiff FREDDY SOMBAH is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal. He was living under an Order of Supervision without incident since September

2010. Without any explanation, he received a Denial of Stay of Removal on September 18, 2017

signed by Respondent/Defendant CRONEN from the Boston ICE Field Office, and has been

ordered to report to the Manchester Sub-Office on September 25, 2017 with a plane ticket to

depart to Indonesia on September 27, 2017. He is the husband of Petitioner/Plaintiff POPPY

SOMBAH; their son was granted relief under DACA. He suffers from various serious medical

conditions.


           25.     Petitioner/Plaintiff POPPY SOMBAH is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. She was living under an Order of Supervision without incident since September

2010. Without any explanation, she received a Denial of Stay of Removal on September 18,

2017 signed by Respondent/Defendant CRONEN from the Boston ICE Field Office, and has

been ordered to report to the Manchester Sub-Office on September 25, 2017 with a plane ticket

to depart to Indonesia on September 27, 2017. She is the wife of Petitioner/Plaintiff FREDDY

SOMBAH; their son was granted relief under DACA.               She suffers from serious medical

conditions.

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           26.     Petitioner/Plaintiff HERU KURNIAWAN is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal. He was living under an Order of Supervision without incident since August

2010. On August 1, 2017, he was ordered to report to the Manchester Sub-Office on September

25, 2017 with a plane ticket to depart to Indonesia on September 27, 2017. He is the husband of

Petitioner/Plaintiff DEETJE PATTY; they have a U.S. citizen daughter, age 34.

Petitioner/Plaintiff HERU KURNIAWAN may be eligible for permanent residence based upon

his immediate relative relationship with his daughter, and he has applied for such relief. This

status has permitted Petitioner/Plaintiff HERU KURNIAWAN to file a motion to reopen his

final order of removal and may permit him to seek permanent residence, but no administrative

stay of removal has been granted to him.


           27.     Petitioner/Plaintiff DEETJE PATTY is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. She was living under an Order of Supervision without incident since August 2010.

On August 1, 2017, she was ordered to report to the Manchester Sub-Office on September 25,

2017 with a plane ticket to depart to Indonesia on September 27, 2017. She is the wife of

Petitioner/Plaintiff HERU KURNIAWAN; they have a U.S. citizen daughter, age 34.

Petitioner/Plaintiff DEETJE PATTY may be eligible for permanent residence based upon her

immediate relative relationship with her daughter and she has applied for such relief. This status

has permitted Petitioner/Plaintiff DEETJE PATTY to file a motion to reopen her final order of

removal and may permit her to seek permanent residence, but no administrative stay of removal

has been granted to her.




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           28.     Petitioner/Plaintiff ROY ANTOUW is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. He was living under an Order of Supervision without incident since September 3,

2010. He was ordered to report to ICE on October 6, 2017 with a plane ticket to depart to

Indonesia on October 7, 2017. He is the husband of Petitioner/Plaintiff DEBBY WALANDOW;

they have a U.S. citizen son, age 15, and daughter who will turn 21 years old on December 31,

2017. Upon his elder daughter’s birthday, Petitioner/Plaintiff ROY ANTOUW may be eligible

for permanent residence based upon his immediate relative relationship with his daughter.

Immediate relative classification would permit Petitioner/Plaintiff ROY ANTOUW to file a

motion to reopen his final order of removal and seek permanent residence.


           29.     Petitioner/Plaintiff DEBBY WALANDOW is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal.        She was living under an Order of Supervision without incident since

September 3, 2010. Although she has been ordered to report to ICE on October 16, 2017, she

has purchased a plane ticket to depart to Indonesia with her husband, Petitioner/Plaintiff ROY

ANTOUW, on October 7, 2017.             Petitioners/Plaintiffs DEBBY WALANDOW and ROY

ANTOUW have a U.S. citizen son, age 15, and daughter who will turn 21 years old on

December 31, 2017.           Upon her elder daughter’s birthday Petitioner/Plaintiff DEBBY

WALANDOW may be eligible for permanent residence based upon her immediate relative

relationship with her stepdaughter.           Immediate relative classification would permit

Petitioner/Plaintiff DEBBY WALANDOW to file a motion to reopen her final order of removal

and seek permanent residence.




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           30.     Petitioner/Plaintiff ARNOLD BUDIHARDJO is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and subject to

a final order of removal. He was living under an Order of Supervision without incident since

September 3, 2010. He was ordered to report to ICE on October 3, 2017 with a plane ticket to

depart to Indonesia on October 4, 2017. He is the husband of Petitioner/Plaintiff VIRAKE

BANTURINO; they have a U.S. citizen daughter, age 14.


           31.     Petitioner/Plaintiff VIRAKE BUDIHARDJO is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and subject to

a final order of removal. She was living under an Order of Supervision without incident since

September 3, 2010. She was ordered to report to ICE on October 3, 2017 with a plane ticket to

depart to Indonesia on October 4, 2017.         She is the wife of Petitioner/Plaintiff ARNOLD

BUDIHARDJO; they have a U.S. citizen daughter, age 14.


           32.     Petitioner/Plaintiff MICHAEL EMAN is a national of Indonesia of Christian faith

who is subject to a final order of removal. He was living without incident since May 20, 2010,

under an Order of Supervision which he understood to have been issued under the auspices of

Operation Indonesian Surrender. He was ordered to report to ICE on October 4, 2017 with a

plane ticket to depart to Indonesia on October 5, 2017. He is the husband of Petitioner/Plaintiff

HESTI RIMPER; they have two U.S. citizen children, ages 11 and 14.


           33.     Petitioner/Plaintiff HESTI RIMPER is a national of Indonesia of Christian faith

who is subject to a final order of removal. She was living without incident since May 20, 2010

under an Order of Supervision which she understood to have been granted under the auspices of

Operation Indonesian Surrender. She has been ordered to report to ICE on October 6, 2017 with



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a plane ticket to depart to Indonesia on November 6, 2017. She is the wife of Petitioner/Plaintiff

MICHAEL EMAN; they have two U.S. citizen children, ages 11 and 14.


           34.     Petitioner/Plaintiff GREACE MAMBO (a/k/a/ GREACE RAWUNG) is a

national of Indonesia of Christian faith who is a participant in the Operation Indonesian

Surrender Program and subject to a final order of removal. She was living under an Order of

Supervision without incident since September 2, 2010. She has been ordered to report to ICE on

October 4, 2017 with a plane ticket to depart to Indonesia on October 5, 2017. She is the ex-wife

of Petitioner/Plaintiff SONNY MAMBO. She has three U.S. citizen children, ages 4, 12, and 15,

who have lived their entire lives in the United States, speak English, and barely understand

Indonesian language or culture. Petitioner/Plaintiff MAMBO also anticipates that she will be

appointed legal guardian of her U.S. citizen niece on October 17, 2017.


           35.     Petitioner/Plaintiff SONNY MAMBO is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. He was living under an Order of Supervision without incident since September 2,

2010. He has been ordered to report to ICE on October 4, 2017 with a plane ticket to depart to

Indonesia on October 5, 2017. He is the ex-husband of Petitioner/Plaintiff GREACE MAMBO.

He has three U.S. citizen children, ages 4, 12, and 15, who have lived their entire lives in the

United States, speak English, and barely understand Indonesian language or culture.


           36.     Petitioner/Plaintiff EDDY PANJAITAN is a national of Indonesia of Christian

faith who is subject to a final order of removal. He has been living without incident since

November 3, 2013 under an Order of Supervision which he understood to have been granted

under the auspices of Operation Indonesian Surrender. He has been ordered to report to ICE on



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October 6, 2017 with a plane ticket to depart to Indonesia on October 7, 2017. He is the husband

of Petitioner/Plaintiff LINARIA SINAGA; they have two U.S. citizen children, ages 7 and 10.


           37.     Petitioner/Plaintiff LINARIA SINAGA is a national of Indonesia of Christian

faith who is subject to a final order of removal. She has been living without incident since

November 3, 2013 under an Order of Supervision which she understood to have been granted

under the auspices of Operation Indonesian Surrender. She was ordered to report to ICE on

October 6, 2017 with a plane ticket to depart to Indonesia on October 7, 2017. She is the wife of

Petitioner/Plaintiff EDDY PANJAITAN; they have two U.S. citizen children, ages 7 and 10.


           38.     Petitioner/Plaintiff CHRISTIAN PENTURY is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and subject to

a final order of removal. He was living under an Order of Supervision without incident since

August 31, 2010. He was ordered to report to ICE on October 10, 2017 with a plane ticket to

depart to Indonesia on October 11, 2017. Petitioner/Plaintiff PENTURY is the caretaker of his

elderly mother, an Indonesian Christian currently in poor health who was granted withholding of

removal by an Immigration Judge on the basis that she was more likely than not to be harmed on

account of her religion if returned to Indonesia.


           39.     Petitioner/Plaintiff ELVIS SEPANG is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. He was living under an Order of Supervision without incident since September 3,

2010. He has been ordered to report to ICE on October 13, 2017 with a plane ticket to depart to

Indonesia on November 9, 2017. He is the husband of Petitioner/Plaintiff ESTER ARINA; they

have five U.S. citizen children, ages 5, 8, 10, 12, and 15.



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           40.     Petitioner/Plaintiff ESTER ARINA is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. She was living under an Order of Supervision without incident since September 3,

2010. She has been ordered to report to ICE on October 13, 2017 with a plane ticket to depart to

Indonesia on November 9, 2017. She is the wife of Petitioner/Plaintiff ELVIS SEPANG; they

have five U.S. citizen children, ages 5, 8, 10, 12, and 15.


           41.     Petitioner/Plaintiff YAHYA BANTURINO is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal.        He was living under an Order of Supervision without incident since

September 2, 2010. He has been ordered to report to ICE on October 6, 2017 with a plane ticket

to depart to Indonesia on November 5, 2017. Petitioner/Plaintiff YAHYA BANTURINO is a

cancer survivor who continues to receive medical care: consisting of follow up visits every six

months for clinical assessment, labs including checking a tumor marker, and CT scans to monitor

for disease recurrence.


           42.     Petitioner/Plaintiff JODY SOEBAGYO is a national of Indonesia of Christian

faith who is subject to a final order of removal. He was living without incident since April 22,

2016 under an Order of Supervision which he understood to have been issued under the auspices

of Operation Indonesian Surrender. He has been ordered to report to ICE on October 10, 2017.

He is the husband of Petitioner/Plaintiff PINTA CHRISMILIAN; they have two U.S. citizen

children, ages 7 and 14.


           43.     Petitioner/Plaintiff PINTA CHRISMILIAN is a national of Indonesia of Christian

faith who is subject to a final order of removal. She was living without incident since April 22,

2016 under an Order of Supervision which she understood to have been issued under the
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auspices of Operation Indonesian Surrender. She has been ordered to report to ICE on October

10, 2017. She is the wife of Petitioner/Plaintiff JODY SOEBAGYO; they have two U.S. citizen

children, ages 7 and 14.


           44.     Petitioner/Plaintiff NICO FNU is a national of Indonesia of Christian faith who is

subject to a final order of removal. He was living without incident since June 15, 2016 under an

Order of Supervision which he understood to have been issued under the auspices of Operation

Indonesian Surrender. He has been ordered to report to ICE on October 11, 2017 with a plane

ticket to depart to Indonesian on November 11, 2017. He has two U.S. citizen children, ages 11

weeks and 1 year.


           45.     Petitioner/Plaintiff WILLY MANDAGI is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal. He has been ordered to report to ICE on October 6, 2017 with a plane ticket to

depart to Indonesia on November 6, 2017. He is the husband of Petitioner/Plaintiff ADELE

TUMBEL; they have two U.S. citizen children, ages 13 and 17.


           46.     Petitioner/Plaintiff ADELE TUMBEL is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. She was living under an Order of Supervision without incident since September 1,

2010. She has been ordered to report to ICE on October 6, 2017 with a plane ticket to depart to

Indonesia on November 6, 2017. She is the wife of Petitioner/Plaintiff WILLY MANDAGI;

they have two U.S. citizen children, ages 13 and 17.


           47.     Petitioner/Plaintiff JAMES TOMBENG is a national of Indonesia of Christian

faith is subject to a final order of removal. He was living without incident since October 13,


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2010, under an Order of Supervision which he understood to have been issued under the auspices

of Operation Indonesian Surrender. He has been ordered to report to ICE on October 13, 2017

with a plane ticket to depart to Indonesia on November 13, 2017.          He is the husband of

Petitioner/Plaintiff JANE PAJOW; they have two U.S. citizen children, ages 11 and 17. Their

oldest son has enlisted in the United States Marine Corps and departs for boot camp on August

20, 2018.


           48.     Petitioner/Plaintiff JANE PAJOW is a national of Indonesia of Christian faith

who is subject to a final order of removal. She was living without incident since October 13,

2010, under an Order of Supervision which she understood to have been issued under the

auspices of Operation Indonesian Surrender. She has been ordered to report to ICE on October

13, 2017 with a plane ticket to depart to Indonesia on November 13, 2017. She is the wife of

Petitioner/Plaintiff JAMES TOMBENG; they have two U.S. citizen children, ages 11 and 17.

Their oldest son has enlisted in the United States Marine Corps and departs for boot camp on

August 20, 2018.


           49.     Petitioner/Plaintiff GOLTODO PARAPAT is a national of Indonesia of Christian

faith who is subject to a final order of removal. He was living without incident since October 13,

2010, under an Order of Supervision which he understood to have been issued under the auspices

of Operation Indonesian Surrender. He has been ordered to report to ICE on October 6, 2017

with a plane ticket to depart to Indonesia on November 5, 2017.           He is the husband of

Petitioner/Plaintiff MARGARIET SITOMPUL; they have three U.S. citizen children, ages 5, 5,

and 7.


           50.     Petitioner/Plaintiff MARGARIET SITOMPUL is a national of Indonesia of

Christian faith who is subject to a final order of removal. He was living without incident since
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October 13, 2010, under an Order of Supervision which she understood to have been issued

under the auspices of Operation Indonesian Surrender. She has been ordered to report to ICE on

October 6, 2017 with a plane ticket to depart to Indonesia on November 5, 2017. She is the wife

of Petitioner/Plaintiff GOLTODO PARAPAT; they have three U.S. citizen children, ages 5, 5,

and 7.


           51.     Petitioner/Plaintiff SERO RARUNG is a national of Indonesia of Christian faith

who is subject to a final order of removal. He was living without incident since April 10, 2014,

under an Order of Supervision which she understood to have been issued under the auspices of

Operation Indonesian Surrender. He has been ordered to report to ICE on October 17, 2017 with

a plane ticket to depart to Indonesia on November 17, 2017.             Petitioner/Plaintiff SERO

RARUNG is widowed, having lost his wife of 32 years after she succumbed to a twelve-year

illness due to kidney failure. He is currently under the medical care of a doctor due to difficulty

breathing and high blood pressure.


           52.     Petitioner/Plaintiff STEPHEN RARUNG is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal. He was living under an Order of Supervision without incident since April 10,

2014. He has been ordered to report to ICE on October 17, 2017 with a plane ticket to depart to

Indonesia on November 17, 2017.         He is the son of Petitioner/Plaintiff STEPHEN RARUNG

and lost his mother to kidney failure in July 2013.


           53.     Petitioner/Plaintiff HEFRI SENDUK is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. He was living under an Order of Supervision without incident since August 31,

2010. He has been ordered to report to ICE on October 13, 2017 with a plane ticket to depart to
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Indonesia on November 6, 2017.             He is the husband of Petitioner/Plaintiff LAURA

RONDONUWU. They have two U.S. citizen children, ages 10 and 11.


           54.     Petitioner/Plaintiff LAURA RONDONUWU is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and subject to

a final order of removal. He was living under an Order of Supervision without incident since

September 3, 2010. She has been ordered to report to ICE on October 13, 2017 with a plane

ticket to depart to Indonesia on November 6, 2017. She is the wife of Petitioner/Plaintiff HEFRI

SENDUK. They have two U.S. citizen children, ages 10 and 11.


           55.     Petitioner/Plaintiff WENDA CHAPMAN (a/k/a/ WENDA TAN) is a national of

Indonesia of Christian faith who is subject to a final order of removal. She was living without

incident since October 13, 2010, under an Order of Supervision which she understood to have

been issued under the auspices of Operation Indonesian Surrender. She has been ordered to

report to ICE on October 19, 2017 with a plane ticket to depart to Indonesia on November 19,

2017. Her husband is a U.S. citizen and she has one U.S. citizen so from a previous marriage,

age 11.


           56.     Petitioner/Plaintiff JACLYN LELE is a national of Indonesia of Christian faith

who is subject to a final order of removal. She was living without incident since May 6,

2014 under an Order of Supervision which she understood to have been issued under the

auspices of Operation Indonesian Surrender. She has been ordered to report to ICE on October

6, 2017 and to depart to Indonesia on November 6, 2017. Her husband is an applicant for

asylum before the Boston Immigration Court. From a prior relationship, Petitioner/Plaintiff

JACLYN LELE has one U.S. citizen child, age 7.



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           57.     Petitioner/Plaintiff SAMUEL WONDAL is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal.        He was living under an Order of Supervision without incident since

September 3, 2010. He reported to ICE on September 11, 2017 and is scheduled to depart to

Indonesia on October 17, 2017. His wife is currently pursuing an application for cancellation of

removal at the Boston Immigration Court based upon her seventeen year residence in the United

States and the exceptional and extremely unusual hardship the couple’s two U.S. citizen children,

ages 8 and 10, will endure if their mother is removed from the United States.


           58.     Petitioner/Plaintiff MARKUS SUBROTO is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal.        He was living under an Order of Supervision without incident since

September 2, 2010. He has been ordered to report to ICE on October 13, 2017 with a plane

ticket to depart to Indonesia on November 13, 2017. He is the husband of Petitioner/Plaintiff

TAMARA TASYA; they have two U.S. citizen children, ages 12 and 15.


           59.     Petitioner/Plaintiff TAMARA TASYA is a national of Indonesia of Christian faith

who is a participant in the Operation Indonesian Surrender Program and subject to a final order

of removal. She was living under an Order of Supervision without incident since September 2,

2010. She has been ordered to report to ICE on October 13, 2017 with a plane ticket to depart to

Indonesia on November 13, 2017. She is the wife of Petitioner/Plaintiff MARKUS SUBROTO;

they have two U.S. citizen children, ages 12 and 15.


           60.     Petitioner/Plaintiff FELICIA LUKMAN is a national of Indonesia of Christian

faith who is subject to a final order of removal. She was living without incident since May 31,

2016 under an Order of Supervision which she understood to have been issued under the
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auspices of Operation Indonesian Surrender. She has been ordered to report to ICE on October

6, 2017 with a plane ticket to depart to Indonesia on November 5, 2017. Petitioner/Plaintiff

FELICIA LUKMAN entered the United States in June 2008 at age 15, but due to her age, did not

qualify for DACA. She graduated from University of New Hampshire in 2015 majoring in

Biology Medical and currently works as a Laboratory Technician at Dartmouth-Hitchcock

Medical Center in Lebanon, New Hampshire.


           61.     Petitioner/Plaintiff KAJONO GUNARDI is a national of Indonesia of Christian

faith who is subject to a final order of removal. He was living without incident since November

13, 2013, under an Order of Supervision which he understood to have been issued under the

auspices of Operation Indonesian Surrender. He has been ordered to report to ICE on October

19, 2017 with a plane ticket to depart to Indonesia on November 19, 2017. He is the husband of

Petitioner/Plaintiff LENY SUTANTO; they have three children, ages 20, 24, and 27, all of whom

are DACA recipients and are currently attending college and university in the United States.


           62.     Petitioner/Plaintiff LENY SUTANTO is a national of Indonesia of Christian faith,

faith who is subject to a final order of removal. He was living without incident since November

13, 2013, under an Order of Supervision which he understood to have been issued under the

auspices of Operation Indonesian Surrender. He has been ordered to report to ICE on October 6,

2017 with a plane ticket to depart to Indonesia on November 6, 2017. She is the wife of

Petitioner/Plaintiff KAJONO GUNARDI; they have three children, ages 20, 24, and 27, all of

whom are DACA recipients and are currently attending college and university in the United

States.


           63.     Petitioner/Plaintiff BOBBY CANDRA is a national of Indonesia of Christian faith

who is subject to a final order of removal. He was living without incident since June 6, 2013
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under an Order of Supervision which he understood to have been issued under the asuspices of

Operation Indonesian Surrender. He has been ordered to report to ICE on October 16, 2017 with

a plane ticket to depart to Indonesia on November 16, 2017. He has three U.S. citizen children,

ages 6, 13, and 15.


           64.     Petitioner/Plaintiff FRANKY MASSIE is a national of Indonesia of Christian

faith who is a participant in the Operation Indonesian Surrender Program and subject to a final

order of removal.        He was living under an Order of Supervision without incident since

September 1, 2010. He has been ordered to report to ICE on October 6, 2017 with a plane ticket

to depart to Indonesia on November 6, 2017. He is the husband of Petitioner/Plaintiff SANDRA

SAHERTIAN. Petitioner/Plaintiff FRANKY MASSIE suffers from a chronic lung condition and

respiratory disease stemming from a lung lobectomy performed in 2002. These conditions

require regular medical care and are sufficiently debilitating so that he cannot work, cannot

travel by air, and is dependent upon his wife.


           65.     Petitioner/Plaintiff SANDRA SAHERTIAN is a national of Indonesia of

Christian faith who is a participant in the Operation Indonesian Surrender Program and subject to

a final order of removal. She was living under an Order of Supervision without incident since

September 1, 2010. She has been ordered to report to ICE on October 6, 2017 with a plane ticket

to depart to Indonesia on November 6, 2017. She is the wife of Petitioner/Plaintiff FRANKY

MASSIE; who suffers from a severe medical condition and for whom Petitioner/Plaintiff

provides financial, emotional, and spiritual support.


           66.     Respondent/Defendant CHRIS M. CRONEN is the Boston Field Office Director

for Enforcement and Removal Operations, U.S. Immigration and Customs Enforcement and is

sued in his official capacity. The Field Office Director has responsibility for and authority over
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the detention and removal of noncitizens within the Boston Region, and is their custodian, for

purposes of habeas corpus.              Respondent/Defendant CRONEN’s office is in Burlington,

Massachusetts.


           67.       Respondent/Defendant TIMOTHY STEVENS is Manchester Sub-Office Director

for Enforcement and Removal Operations, U.S. Immigration and Customs Enforcement and is

sued       in      his   official   capacity.   The   Manchester   Sub-Office,   which   reports   to

Respondent/Defendant CRONEN, has responsibility for the detention and removal of certain

noncitizens and is the sub-office of the Boston Region to which many of the Petitioners/Plaintiffs

have been ordered to report.


           68.       Respondent/Defendant ELAINE C. DUKE is the Acting Secretary of the U.S.

Department of Homeland Security (“DHS”) and is sued in her official capacity.

Respondent/Defendant CRONEN reports to Acting Secretary Duke, who therefore has

supervisory responsibility for and authority over the detention and removal of the

Petitioners/Plaintiffs.


                                          LEGAL BACKGROUND


           69.       Consistent with U.S. obligations under the CAT, the INA prohibits the U.S.

government from removing a noncitizen to a country where he or she is more likely than not to

face persecution or torture.


           70.       Specifically, 8 U.S.C. § 1231(b)(3), “Restriction on Removal to a country where

alien’s life or freedom would be threatened,” codifies the nonrefoulement obligation of the

Refugee Act. The provision is a mandatory prohibition on removing noncitizens to a country

where their life or freedom would be threatened on the grounds of race, religion, nationality,
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membership in a particular social group or political opinion. Apart from certain specified

exceptions, any individual who can demonstrate that it is more likely than not that he or she will

be persecuted on one of the five protected grounds is entitled to this statutorily mandated

protection. See INS v. Stevic, 467 U.S. 407 (1984) (holding that alien is entitled to relief from

deportation if he is more likely than not to face persecution on one of the specified grounds

following his deportation).


           71.     The other prohibition on removal tracks the CAT’s prohibition on removal of

noncitizens to countries where they would face torture. See 8 C.F.R. §§ 208.16-18 (implementing

the CAT’s provisions with regard to withholding of removal); FARRA, Pub. L. No. 105-277,

Div. G., Title XXII, § 2242, 112 Stat. 2681-822 (Oct. 21, 1998) (codified as Note to 8 U.S.C. §

1231); U.N. Convention Against Torture and Other Forms of Cruel, Inhuman or Degrading

Treatment or Punishment, art. 1, P 1, opened for signature Dec. 10, 1984, S. Treaty Doc. No.

100-20 (1988), 1465 U.N.T.S. 85.


           72.     Under the CAT, an individual may not be removed if “it is more likely than not

that [the individual] would be tortured if removed to the proposed country of removal.” 8 C.F.R.

§ 208.16(c)(2); torture may be “inflicted by or at the instigation of or with the consent or

acquiescence of a public official or other person acting in an official capacity.” 8 C.F.R. §

208.18(a)(1). The regulations provide for both withholding of removal under CAT and “deferral

of removal.” Whereas withholding of removal is subject to the same exceptions as apply to 8

U.S.C. § 1231(b)(3), deferral of removal contains no exceptions for people with “particularly

serious crimes.” Compare 8 C.F.R. § 208.16(d)(3) with 8 C.F.R. § 208.17.


           73.     Petitioners/Plaintiffs are also potentially eligible for asylum. See 8 U.S.C. § 1158.

Asylum is a discretionary form of relief from persecution that is available to noncitizens who can
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demonstrate that they have a “well-founded fear of persecution on account of race, religion,

nationality, membership in a particular social group, or political opinion.” 8 U.S.C. §

1101(a)(42). “[A]ny alien who is physically present in the United States or who arrives in the

United States… irrespective of such alien’s status, may apply for asylum in accordance with this

section.” 8 U.S.C. § 1158(a)(1). To prevail on an asylum claim, the applicant must establish that

there is at least a 10% chance that he or she will be persecuted on account of one of these

enumerated grounds. See INS v. Cardoza-Fonseca, 480 U.S. 421, 439-40 (1987).


           74.     Noncitizens who have been ordered removed have the statutory right to file

motions to reopen their cases, which are governed by certain time and numerical requirements.

See 8 U.S.C. § 1229a (c)(7). The statute grants special solicitude for noncitizens who are seeking

relief from persecution. If the noncitizen is seeking asylum, withholding, or protection under

CAT based “on changed country conditions arising in the . . . country to which removal has been

ordered,” the statute permits the noncitizen to file a motion to reopen at any time. Id. §

1229a(c)(7)(C)(ii); see also 8 C.F.R. §§ 1003.2(c)(3)(ii) & 1003.23(b)(4)(i).


           75.     The exception to the numerical and time limits provides a safety valve for bona

fide refugees who would otherwise be deported from the United States in violation of U.S.

international treaty obligations of nonrefoulement. See Salim v. Lynch, 831 F.3d 1133, 1137 (9th

Cir. 2016) (“Judicial review of a motion to reopen serves as a ‘safety valve’ in the asylum

process. . . . Such oversight ‘ensure[s] that the BIA lives by its rules and at least considers new

information’ bearing on applicants’ need for and right to relief.”) (citing Pilica v. Ashcroft, 388

F.3d 941, 948 (6th Cir. 2004)).


           76.     In addition, the Due Process Clause and the INA grant Petitioners/Plaintiffs the

right to counsel to challenge their removal, and to a fair proceeding before they are removed
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from the country. 8 U.S.C. § 1362; Leslie v. Attorney General, 611 F.3d 171, 181 (3d Cir. 2010)

(holding that the Fifth Amendment and immigration statute affords a noncitizen right to counsel

of her own choice); Amadou v. INS, 226 F.3d 724, 726-27 (6th Cir. 2000) (noting that

noncitizens have “due process right to a full and fair hearing”).


                                                FACTS


ICE Induced Indonesian Christians with Final Removal Orders to Come Forward, But Then
Abruptly Moved to Deport Them Without Sufficient Notice.
           77.     In 2009 and 2010, ICE in Boston began a program called “Operation Indonesian

Surrender” to induce Christian Indonesian nationals who were residing under a final order of

removal to identify themselves to ICE in exchange for the ability to remain in the United States

under an Order of Supervision. See “Jeanne Shaheen: Trump should let NH’s Indonesian

Community Stay,” Manchester Union Leader (Sept. 10, 2017) (“In 2009, working with these

families and members of their church community, my office helped negotiate an agreement with

ICE to allow them to remain in New Hampshire and obtain work permits in exchange for a

pledge to regularly touch base with ICE.”), available at http://www.unionleader.com/Another-

View-Jeanne-Shaheen-Trump-should-let-NHs-Indonesian-community-stay-09112017.


           78.     As described by an ICE public affairs official, this was an “humanitarian effort”

involving Indonesian churches. See “ICE Seeks Surrender of Illegal Immigrants,” Foster’s Daily

Democrat (Sept. 10, 2010) (“‘The whole purpose is bringing folks out of the shadows and saying

listen, we’ll work with you. They’re hiding in fear and we don’t want that - no one wants that.’”),

available at http://www.fosters.com/article/20100901/GJNEWS_01/709019921. ICE worked

with pastors in the Indonesian Christian churches to help identify “upstanding” members of the




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community to participate in this program. Id. Individuals with criminal records were not eligible

for the program. Id.


           79.     Upon information and belief, approximately 100 Christian Indonesian individuals

in New England participated in the program, and received Orders of Supervision.


           80.     Upon information and belief, individuals within this program relied on these

Orders of Supervision, generally abided by the conditions imposed by the Orders, and continued

to be productive members of their respective communities. In 2012, the program was further

limited to individuals with U.S. citizen children and/or spouses. Approximately 70 individuals

remain in the Boston region pursuant to that Program.


           81.     Upon information and belief, in or about June 2017, ICE advised the community

that it would likely be issuing Denials of Stays of Removal and/or Notices of Revocation of

Release to Indonesian Christians who were participants in the program. The change in policy

came as a shock to the community. Until then, Indonesians with final orders had been living at

large, for years, with few restrictions apart from regular reporting requirements. Law abiding

individuals, who have been living in the United States for years—in most cases, for nearly two

decades—and who have been fully compliant with their conditions of supervision, and all of

whom, upon information and belief, have U.S. citizen children or spouses, suddenly found

themselves facing orders to obtain tickets back to Indonesia, a country where they will surely

face severe persecution. Further, upon information and belief, on August 1, 2017 at a common

check-in date for many participants in Operation Indonesian Surrender, at the ICE Sub-Office in

Manchester, roughly two dozen participants were ordered by ICE Officers to return roughly 30-

45 days later with plane tickets to Indonesia. There was no warning about this change, and no



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reasonable opportunity for Petitioner/Plaintiffs to research and understand their rights and seek

appropriate relief in an appropriate forum.


           82.     Persecution of Christian minorities in Indonesia has been well documented, as the

U.S. Court of Appeals for the First Circuit has recognized even since the beginning of Operation

Indonesian Surrender when it has engaged in reviewing the type of fact-specific inquiry that

Petitioners/Plaintiffs seek to present:


           Panoto is a Christian from Indonesia, a predominantly Muslim country. According to the
           IJ’s decision, Panoto testified that she experienced persecution as an Indonesian Christian
           and attributed the following incidents to her religious identity.

           On Christmas Eve in 2000, a member of Panoto’s congregation found a black box outside
           their church. Police officers determined that the item was a bomb and removed it before it
           could detonate. Panoto testified that local authorities did not investigate the event further.

           Approximately six months later, in June 2001, Panoto was riding on a ferry boat when it
           was hijacked by Muslim extremists. Once aboard, the hijackers shouted for the Christian
           passengers to come forward. Panoto witnessed the militants slit an elderly Christian
           woman’s throat, killing her. One extremist then yanked Panoto by the hair and slapped
           her, commanding that she state her faith. Panoto did not reply, and just as he was about to
           attack her, another hijacker called him away.

Panoto v. Holder, 770 F.3d 43, 45 (1st Cir. 2014) (granting petition for review and vacating

order of removal).


Individuals With Old Removal Orders May Have Multiple Bases for Reopening their Cases,
Including Changed Country Conditions in Indonesia That Put Them at Risk of Persecution or
Torture if Removed.
           83.     Each of the Petitioners/Plaintiffs and members of the putative class may have

multiple bases for reopening their removal cases, including recent attainment of eligibility for

immediate relative status (such as marriage to a U.S. citizen or a U.S. citizen child’s attainment

of the age of the twenty-one), discretionary ineffective assistance of counsel, extraordinary




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circumstances, or changed country conditions in Indonesia, each of which must be carefully

adjudicated by an Immigration Judge or the Board of Immigration Appeals.


           84.     For   example,    with    respect    to   country   conditions,   many    of   the

Petitioners’/Plaintiffs’ removal orders predate the significant deterioration in Indonesia and the

increasing danger for Christian that has come in part from the rise of the so-called “Islamic

State” in Indonesia, as illustrated by an attack in 2016 in Jakarta, the area of Indonesia from

which many of the Petitioners/Plaintiffs escaped to come to the U.S.. As reported by the U.S.

Department of State: “on January 14, 2016, terrorists using guns and explosives attacked near the

Sarinah Plaza in Central Jakarta, killing four civilians, including a foreigner, and injuring 17

others.” Bureau of Consular Affairs, U.S. Dep’t of State, Country Information: Indonesia (Apr.

17, 2017), available at https://travel.state.gov/content/passports/en/country/ indonesia.html; see

also Jonathan Egmonth, “Islamist Intolerance Poses a Growing Threat to Indonesia’s Minorities,

TIME (Apr. 20, 2016), available at http://time.com/4298767/indonesia-intolerance-muslim-

islamist-minorities-lgbt-christians-hardliners/.


           85.     At least one other federal district court, facing analogous challenge by a discrete

group of noncitizens who were from a country whose level of persecution of Christians had

recently increased, in part due to the rise of the Islamic State, permitted a stay of removal to

accommodate the filing of motions to reopen. Hamama v. Adducci, No. 17-cv-11901, 2017 WL

2806144 (E.D. Mich. June 26, 2017) (issuing preliminary injunction to stay the removal of

Christians to Iraq).


Severe Obstacles to Due Process Are Created by ICE’s Immediate Removal Timeline.




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           86.       ICE’s issuances of Notice of Revocation of Release and/or Denials of Stays has

severely impeded Petitioners’/Plaintiffs’ ability to exercise their due process rights, due to the

extraordinarily short time for removal that would preclude the preparation of motions to reopen.


           87.       Filing motions to reopen requires substantial time and resources. Most take

several months and cost several thousand dollars. This process will be even more difficult for

those who lack assistance of counsel and/or the means to retain counsel. Those who have

retained counsel still face additional hurdles in filing motions to reopen. Attorneys will need

time to visit and interview clients, review administrative records and applications for relief from

removal previously adjudicated, marshal evidence, and draft pleadings and related papers, all of

which is impossible within the compressed timeframe permitted for removal that ICE has set –

with deportations set to begin as early as this Wednesday.


           88.       With respect to motions to be filed for Petitioners/Plaintiffs seeking to reopen

their previously-denied applications for asylum, withholding of removal, and/or CAT, the

immediate removal timeline infringes upon due process. The First Circuit has stated that, for the

purposes of such motions “evidence of changed circumstances must demonstrate an

intensification or deterioration of [his] country[‘s] conditions, not their mere continuation.”

Marsadu v. Holder, 748 F.3d 55, 58 (1st Cir. 2014). To assess the deterioration of country

conditions and, correspondingly, whether the Petitioners/Plaintiffs now has a well-founded fear

of religious persecution, the Immigration Judge or the Board of Immigration Appeals will

compare evidence presented at the initial adjudication with newly proffered evidence. Id. at 58-

59.1 On the one hand, without an opportunity to review the administrative record with their


1
   A “well-founded fear of persecution” is demonstrated by evidence establishing a “reasonable
likelihood” that the Petitioner/Plaintiff will face persecution, “provided that his fears are
(Footnote continued on next page)
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attorneys and adequately prepare pleadings in consideration of this exacting legal standard, the

motions to reopen will invariably be denied. On the other hand, failure to file for relief within

the immediate removal timeline could result in refoulement. Such a choice clearly does not

satisfy the minimum procedural safeguards guaranteed by due process.


           89.       In considering a similar group of noncitizens subjected to removal on a

compressed timetable impinging on their due process rights, another federal court permitted a

stay of removal. Hamama v. Adducci, No. 17-cv-11901, 2017 WL 2806144 (E.D. Mich. June

26, 2017).


                                          CLASS ALLEGATIONS


           90.       Petitioners/Plaintiffs incorporate by reference the foregoing paragraphs as if fully

alleged herein.


           91.       Plaintiffs/Petitioners bring this action on behalf of themselves and all other

similarly situated persons pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2), and

as a representative habeas class action for similarly situated persons pursuant to a procedure

analogous to Rules 23(a) and 23(b)(2). See Ali v. Ashcroft, 346 F.3d 873, 889-91 (9th Cir 2003)

(holding that the district court did not exceed its habeas jurisdiction in certifying a nationwide


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subjectively genuine and objectively reasonable. Marsadu, 748 F.3d at 58 (quoting 8 C.F.R. §
208.13(b) ).
      To prove that his fears are objectively reasonable, a petitioner typically must either: (a)
      produce credible, direct, and specific evidence supporting a fear of individualized
      persecution in the future, or (b) he must establish that there is a pattern or practice in his
      country of nationality of persecution of a group of persons similarly situated to the petitioner
      on account of race, religion, nationality, membership in a particular social group, or political
      opinion,
Id. (internal citations and quotations omitted).

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habeas class), withdrawn and amended on other grounds on reh’g, Ali v. Gonzales, 421 F.3d 795

(9th Cir. 2005); see also Geraghty v. U.S. Parole Commission, 429 F. Supp. 737, 740 (M.D. Pa.

1977).


           92.     In addition to the named Petitioners/Plaintiffs, there are numerous other

individuals living within the jurisdiction of the Boston ICE Field Office who were lured into

“Operation Indonesian Surrender” under humanitarian pretenses, who are now subject to Orders

of Supervision, and whose rights under the United States Constitution and applicable

international treaties are infringed by ICE’s immediate removal timeline. Each of these similarly

situated individuals is in “custody,” faces imminent removal from the United States, and, as a

result, is effectively being deprived of the opportunity to prepare motions to reopen and

underlying applications prior to removal. Due process and statutory and treaty protections

afforded to persons fearing religious persecution or torture in their home countries compels

sufficient time to file. Petitioners/Plaintiffs and the putative class they seek to represent be

afforded the opportunity to take such steps and have their arguments heard by an Immigration

Court before the government can send them to a country that is now foreign and hostile to them.


           93.     Each of these similarly situated individuals is entitled to bring a petition for a writ

of habeas corpus, and writ of mandamus or, in the alternative, a complaint for declaratory and

injunctive relief, to prohibit the Respondents’/Defendants’ attempts to foreclose their access to

counsel and ability to prepare filings necessary to seek relief from removal due to changed

country conditions in Indonesia, changed familiar status, or any other valid basis for relief.


           94.     These similarly situated individuals satisfy the numerosity, typicality,

commonality, and adequacy of representation requirements of Rule 23 of the Federal Rules of

Civil Procedure. See Reid v. Donelan, 297 F.R.D. 185, 188 (D. Mass.), enforcement granted, 64
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F. Supp. 3d 271 (D. Mass. 2014); Gordon v. Johnson, 300 F.R.D. 28, 30 (D. Mass. 2014); see

generally U.S. ex rel. Sero v. Preiser, 506 F.2d 1115 (2d Cir. 1974) (applying class certification

concepts to a motion for class certification filed by a petitioner seeking habeas relief on behalf of

himself and all others similarly situated). The proposed class is defined under Rule 23(b)(2) as:

                   All Indonesian nationals within the jurisdiction of the Boston ICE
                   Field Office, with final orders of removal, who have been, or will
                   be, arrested, detained, or removed by ICE after having participated
                   at any time in “Operation Indonesian Surrender.”
The proposed class falls within the defined categories of Rule 23(b)(2) in that the United States

“has acted or refused to act on grounds generally applicable to the class, so that final injunctive

relief or corresponding declaratory relief is appropriate with respect to the class as a whole.”

Reid, 297 F.R.D. at 192-93 (quoting Fed. R. Civ. Proc. 23(b)(2)) (“[C]ivil rights actions like this

one, where a party charges that another has engaged in unlawful behavior towards a defined

group, are ‘prime examples’ of Rule 23(b)(2) classes”).


           95.     Upon information and belief, there are approximately 70 Indonesian Christian

individuals remaining in the Operation Indonesian Surrender program under Orders of

Supervisions who are could be part of the proposed class. See George v. Nat’l Water Main

Cleaning Co., 286 F.R.D. 168, 173 (D. Mass. 2012) (recognizing that forty or more persons in a

class ordinarily satisfies the numerosity requirement). The total number of class members and

the varied terms of their Orders of Supervision and the manner and in which the United States

will effect their removal from the United States is such that joinder of the claims of all class

members would be impracticable.


           96.     Joinder is also impracticable because some members of the class have limited

financial means to bring an individual action for the relief requested herein and some class

members may be dissuaded from bringing suit individually for fear of retaliation by the
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government for exercising their rights. This class action is only the first legal step for the

putative class members, designed merely to afford them the opportunity to take further legal

steps, individually, to protect their individual rights.       Judicial economy and the need to

expeditiously resolve the claims raised herein also counsel in favor of class treatment.


           97.     Petitioners/Plaintiffs’ claims are typical of the claims of the proposed class.

Petitioners/Plaintiffs’ claims arise from the same course of events—Boston ICE’s “Operation

Indonesian Surrender” and its sudden decision to deport the participants of that program—and

are based on the same legal arguments.


           98.     Petitioners/Plaintiffs will fairly and adequately protect the interests of the

proposed class. Petitioners/Plaintiffs have no relevant conflicts of interest with other members of

the proposed class, nor are any conflicts likely to arise, and Petitioners/Plaintiffs have the ability

and incentive to prosecute the action vigorously on behalf of the class. Petitioners/Plaintiffs have

retained competent counsel experienced in class action and immigration law.


           99.     There are multiple questions of law and fact common to the members of the

proposed class. These common questions include, but are not limited to, the following:


                      a. Whether Petitioners/Plaintiffs and the proposed class can be removed

                          without being provided an opportunity to demonstrate that they qualify for

                          relief from persecution or torture based on, inter alia, changed country

                          conditions in Indonesia;


                      b. Whether 8 U.S.C. § 1158, 8 U.S.C. § 1231(b)(3), and the Convention

                          Against   Torture   impose      a   mandatory   obligation    to   consider



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                          Petitioners/Plaintiffs’ and class members’ individualized requests for relief

                          from persecution or torture; and


                      c. Whether Respondent violated Petitioners’/Plaintiffs’ and class members’

                          constitutional, statutory, and regulatory right to due process and a fair

                          removal hearing by arbitrarily orchestrating a compressed process for

                          removal that deprives them of their rights to reopen their individual

                          immigration cases by giving them no time to make appropriate filings in

                          Immigration Court.


           100.    Finally, the proposed class is ascertainable because the class is sufficiently

definite and provable. The class consists of Christian Indonesian nationals living in New England

that participated in “Operation Indonesian Surrender” who are now subject to a final order of

removal. Respondent should have records sufficient to identify all persons in the class.


                                         CAUSES OF ACTION


                           COUNT ONE
    IMMIGRATION AND NATIONALITY ACT - PROHIBITION ON REMOVAL TO
   COUNTRY WHERE INDIVIDUAL WOULD FACE PERSECUTION OR TORTURE
           101.    Petitioners/Plaintiffs reallege the foregoing paragraphs as if set forth fully herein.


           102.    Pursuant to the INA, and to ensure compliance with international treaties for

which it is a signatory, the U.S. government is prohibited from removing noncitizens to countries

where they are more likely than not to face persecution or torture.


           103.    The prohibition on removal is mandatory for anyone who satisfies the eligibility

criteria set forth in the applicable statutes and regulations. In addition, where country conditions


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change after an individual has been ordered removed, the INA specifically provides for motions

to reopen a removal order in order to renew one’s claims for protection in light of new facts.


           104.    Petitioners/Plaintiffs, who are facing removal to Indonesia based on stale removal

orders, face persecution and/or torture if removed to that country in light of changed

circumstances since their cases were first considered. Removing the Petitioners/Plaintiffs without

giving them a fair opportunity to raise these issues in Immigration Court violates the INA and

international treaties to which the United States is a signatory.


                            COUNT TWO
             FIFTH AMENDMENT – PROCEDURAL DUE PROCESS
     DENIAL OF RIGHT TO REOPEN REMOVAL ORDERS ON ACCOUNT OF
  ELIGIBILITY FOR ASYLUM/WITHHOLDING OF REMOVAL/CAT PROTECTION
           105.    Petitioners/Plaintiffs reallege the foregoing paragraphs as if set forth fully herein.


           106.    Procedural due process requires that the government be constrained before it acts

in a way that deprives individuals of life or liberty interests protected under the Due Process

Clause of the Fifth Amendment.


           107.    The United States government is obligated by federal and international law, to

hear the claims of noncitizens, regardless of their status, who have a credible fear of persecution

or torture emanating from their home country before they are removed from the United States to

that country.


           108.    Because the danger to the named Petitioners/Plaintiffs and others similarly

situated is based on changed country circumstances in Indonesia, they have not received their

core procedural entitlement-they have not had an opportunity to have their claims heard at a

meaningful time and in a meaningful manner, that is, with respect to current conditions, not the

conditions that existed at the time their removal order was first issued. Removing the
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Petitioners/Plaintiffs without giving them this opportunity violates due process guarantee of the

Fifth Amendment.


                           COUNT THREE - UNLAWFUL DETENTION


           109.    Petitioners/Plaintiffs reallege the foregoing paragraphs as if set forth fully herein.


           110.    Petitioners/Plaintiffs’ detention violates due process unless it bears a reasonable

relationship to the government’s purposes - effectuating removal and protecting against danger.


           111.    The government’s detention of Petitioners/Plaintiffs bears no reasonable

relationship to either purpose. At a minimum, Petitioners/Plaintiffs must be afforded

individualized determinations to assess whether their continued detention is justified.


                                        PRAYER FOR RELIEF

WHEREFORE, Petitioners/Plaintiffs respectfully request that this Honorable Court:

                   A. Assume jurisdiction over this matter;

                   B. Issue a temporary restraining order and preliminary injunction temporarily
           staying Petitioners’/Plaintiffs’ removal, and that of all putative class members, until this
           action is decided;

                   C. Certify a class defined as “all Indonesian nationals within the jurisdiction of
           the Boston ICE Field Office, with final orders of removal, who have been, or will be,
           arrested, detained, or removed by ICE after having participated at any time in “Operation
           Indonesian Surrender”;

                   D. Name Petitioners/Plaintiffs as representatives of the proposed class; and
           appoint Petitioners’/Plaintiffs’ counsel as class counsel;

                   E. Declare that Respondents/Defendants have violated the rights of the class;



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                   F. Order Respondents/Defendants to provide Petitioners’/Plaintiffs’ counsel with
           a list of all class members and copies of their A files (immigration files) and program
           descriptions, criteria, or policy memoranda relating to “Operation Indonesian Surrender”;

                   G. Enjoin Respondents/Defendants from removing Petitioners/Plaintiffs and all
           putative class members to Indonesia without first providing them with sufficient
           opportunity to establish that, in light of current conditions and the likelihood that they
           would suffer persecution or torture if removed to Indonesia, they are entitled to protection
           against such removal, and enter a writ of mandamus for that same purpose;

                   H. Enjoin Respondents/Defendants from removing Petitioners/Plaintiffs and all
           putative class members to Indonesia until they have been given sufficient time to enable
           them to file motions to reopen their removal orders and seek stays of removal from the
           immigration court; specifically, each member of the petitioner class should be given four
           months to file their motions to reopen, starting when the government provides a copy of
           the individual’s A-file and the Record of Proceedings to the Petitioner’s immigration
           counsel (i.e., counsel who has filed a G-28 form or equivalent) or, if the Petitioner does
           not have counsel, to the Petitioner; a petitioner who does file a motion to reopen will be
           protected by the stay until such time as the immigration court and the Board of
           Immigration Appeals (“BIA”) adjudicate the motion, and the Petitioner has had the
           opportunity to file a petition for review and seek a stay with the Court of Appeals.

                   I. Enjoin Respondents/Defendants from transferring Petitioners/Plaintiffs and all
           putative class members outside of the jurisdiction of the New England Region and/or the
           Boston Field Office;

                   J. Order Respondents/Defendants to release all Petitioners/Plaintiffs and all
           putative class members from detention absent an individualized determination by an
           impartial adjudicator that their detention is justified based on danger or flight risk,
           which cannot be sufficiently addressed by alternative conditions of release and/or
           supervision;

                   K. Award reasonable attorneys’ fees and costs to Petitioners/Plaintiffs; and

                   L. Grant such other further relief as is just and equitable.
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                                              Respectfully Submitted,


                                              PETITIONERS/PLAINTIFFS

                                              By Their Attorneys,


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Date: October 6, 2017




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on October 6, 2017.

                                              /s/ Ronaldo Rauseo-Ricupero




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